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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                           CINCINNATI DIVISION



THE KROGER CO.,

     Plaintiff,
v.                                        No. 1:24-cv-00438-DRC
                                          Hon. Douglas R. Cole
THE FEDERAL TRADE COMMISSION, et
al.,
     Defendants.



                   DEFENDANTS’ OPPOSITION TO KROGER’S
                   MOTION FOR A PRELIMINARY INJUNCTION
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                     Kroger’s removal claim fails at the outset because Kroger does not establish harm,
                     as required under the Supreme Court’s decision in Collins v. Yellen, 594 U.S. 220,
                     259 (2021). The Sixth Circuit recently confirmed that Collins “provides a clear
                     instruction: To invalidate an agency action due to a removal violation, that
                     constitutional infirmity must ‘cause’ harm; to the challenging party.” Calcutt v.
                     FDIC, 37 F.4th 293, 316 (6th Cir. 2022), rev’d on other grounds, 598 U.S. 623
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                                The removal protections for MSPB members does not create an additional
                                layer of removal protection for Commission ALJs. An ALJ is removable
                                “by the agency in which the [ALJ] is employed,” 5 U.S.C. § 7521(a), not
                                by the MSPB. The MSPB’s role is merely to hold a hearing and determine
                                whether the requisite “good cause” exists if the agency removes an ALJ and
                                the ALJ challenges that removal decision.
                     b.     Regardless, Commission ALJs’ removal protections are
                     constitutional. ........................................................................................................ 9

                                Plaintiffs’ attempt to compare Commission ALJs’ removal protections to
                                those found unconstitutional in Free Enterprise Fund. v. Public Company
                                Accounting Oversight Board, 561 U.S. 477 (2010), fails. The Sixth Circuit
                                explained in Calcutt that Free Enterprise Fund “provides weak support” for
                                removal claims like Kroger’s because it “explicitly excludes ALJs from its
                                prohibition on multiple levels of for-cause removal protection.” 37 F.4th at
                                318. And indeed, the limited removal protections afforded to Commission
                                ALJs fall comfortably within the bounds of Congress’s authority.
                                Commission ALJs perform adjudicative rather than enforcement or


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                           policymaking functions; the Commission has significant control over the
                           ALJs, including the ability to modify or set aside any portion of the ALJs’
                           recommendations; and the “good cause” standard for removing ALJs gives
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                 Even if Kroger had shown harm (which it has not), and even if it had established
                 that the removal protections were unconstitutional (which it has not), the proper
                 remedy would be severance of the offending removal provisions, not injunctive
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                 the FTC Act and the Clayton Act involve public rights that may be adjudicated
                 administratively. See, e.g., Crowell v. Benson, 285 U.S. 22, 50–51 & n.13 (1932).
                 Moreover, Congress’s careful delineation of the Commission’s role relative to that
                 of the courts further establishes that the Commission did not intend to encroach on
                 the judicial branch.
         B.      Jarkesy does not upend this century-old statutory scheme. ............................ 17

                 The Supreme Court’s recent decision in Securities and Exchange Commission v.
                 Jarkesy, 144 S. Ct. 2117 (2024), did not upend this century-old statutory scheme.
                 Jarkesy was a Seventh Amendment case that did not consider how Article III
                 applies to administrative adjudication where, as here, the claims do not implicate
                 the right to a jury trial. In any event, Jarkesy held only that an SEC securities fraud
                 enforcement action to recover civil money penalties was not a public-rights matter,
                 and civil penalties are not at issue here.
         C.      The Clayton Act and the FTC Act created rights distinct from the
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                 The novelty of the statutory scheme under the Clayton Act and the FTC Act further
                 confirms that this matter involves public rights. The Clayton Act and the FTC Act
                 “did not borrow . . . cause[s] of action from the common law,” nor was their
                 “purpose” “to enable the Federal Government to bring or adjudicate claims that
                 traced their ancestry to the common law.” Jarkesy, 144 S. Ct. at 2137. Instead,


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                both statutes created novel statutory duties as between the Government and private
                parties to protect the public by preserving competition. Indeed, Congress
                “explicitly considered, and rejected” the idea of tying the FTC Act “to a common-
                law or statutory standard.” FTC v. Sperry & Hutchinson Co., 405 U.S. 233, 243
                (1972). Similarly, Congress enacted the Clayton Act in response to deficiencies in
                the Sherman Act, which itself was distinct from the common law. The Clayton Act
                and the FTC Act were therefore intended to address a far broader scope of conduct
                not previously considered by the common law.
       D.       Kroger’s arguments to the contrary are unavailing. ....................................... 21

                First, Kroger fails to establish any serious similarity between the common-law
                concept of “restraints of trade” and the violations of which it has been accused—
                “an unfair method of competition” in violation of Section 5 of the FTC Act and a
                proposed acquisition, which, “if consummated, may substantially lessen
                competition” in violation of Section 7 of the Clayton Act. Second, the
                administrative proceeding does not involve private rights merely because they
                implicate Kroger’s property rights, as “[m]any matters that involve the application
                of legal standards to facts and affect private interests are routinely decided by
                agency action with limited or no review by Article III courts.” Thomas v. Union
                Carbide Agricultural Products Co., 473 U.S. 568, 583 (1985). Third, overturning
                more than a century of precedent allowing the Commission to adjudicate these
                types of claims would indeed “dismantle the statutory scheme” and “impede swift
                resolution” of the statutory claims. Granfinanciera, S.A. v. Nordberg, 492 U.S. 33,
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III.   Kroger has not established irreparable harm. ............................................................. 25

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       to further proceedings is not an irreparable harm. Kroger’s reliance on Axon Enterprise,
       Inc. v. FTC, 598 U.S. 175 (2023), is misplaced, as that case involved a jurisdictional inquiry
       that “did not address the issue of irreparable harm, or any other issue regarding entitlement
       to injunctive relief.” Leachco, Inc. v. Consumer Prod. Safety Comm’n, 103 F.4th 748, 758
       (10th Cir. 2024). Moreover, Kroger’s assertion that the administrative proceeding will
       restart at all is speculative given the risk that those proceedings may be rendered moot
       depending on the resolution of the preliminary injunction proceeding in the District of
       Oregon. Second, the Supreme Court has repeatedly confirmed that litigation costs of
       further administrative proceedings is not an irreparable harm. See, e.g., Renegotiation Bd.
       v. Bannercraft Clothing Co., 415 U.S. 1, 24 (1974). Third, Kroger fails to explain how
       alleged “ongoing uncertainty” regarding the fate of the proposed acquisition is an imminent
       or irreparable injury requiring the Court to grant relief now. Indeed, a preliminary
       injunction would not even resolve this alleged “uncertainty.” Finally, Kroger’s own delay
       in filing for injunctive relief counsels against any finding that Kroger is entitled to relief
       now.


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          The balance of equities and the public interest weigh against relief here because the public
          has a strong interest in enforcement of the FTC Act, which protects the public from “unfair
          or deceptive acts or practices,” 15 U.S.C. § 45(a), and the Clayton Act, which protects the
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                                       INTRODUCTION

       Plaintiff The Kroger Company (“Kroger”) seeks to prevent the Federal Trade Commission

(“Commission”) from examining its proposed acquisition of Albertsons Companies, Inc.

(“Albertsons”)—and to disrupt a parallel preliminary injunction proceeding in the District of

Oregon—by seeking a belated preliminary injunction before this Court.             As set forth in

Defendants’ simultaneously filed Motion to Transfer or, Alternatively, to Stay, ECF No. 14, this

Court should transfer this case to the District of Oregon or stay it pending resolution of that

proceeding. If the court declines to do so, the Court should deny Kroger’s motion for a preliminary

injunction because Kroger has not shown either a likelihood of success or that it will suffer

irreparable injury absent an injunction.

       Kroger first alleges that the double-layer removal protection afforded to Commission

Administrative Law Judges (“ALJs”) violates Article II of the Constitution. But Kroger’s removal

claim fails at the outset because Kroger does not establish any harm, as required under the Supreme

Court’s decision in Collins v. Yellen, 594 U.S. 220, 259 (2021). Even were the Court to reach the

constitutional merits—which it need not—the Sixth Circuit has already explained that ALJ

removal protections are constitutional. In any event, Kroger would not be entitled to an injunction

on its ALJ claim regardless because the proper remedy for any unconstitutional removal provision

would be severance of that provision, not an injunction of the administrative proceeding.

       Kroger next alleges that the Supreme Court’s recent decision in Securities and Exchange

Commission v. Jarkesy, 144 S. Ct. 2117 (2024), upends a century-old statutory scheme allowing

the Commission to assess harm to competition through administrative adjudication. Kroger’s

argument that such administrative proceedings involve adjudication of private rights within the

executive branch is contrary to Supreme Court precedent. The Supreme Court established long




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ago that Commission proceedings to enforce the Clayton Act, 15 U.S.C. §§ 12–27, and the Federal

Trade Commission Act, 15 U.S.C. §§ 41–58 (“FTC Act”), involve public rights that may be

adjudicated administratively. Moreover, both Acts created new causes of action that did not derive

from the common law. Thus, even if Jarkesy implicated Article III questions—which the Supreme

Court made clear it did not—Kroger’s Article III claim would still fail.

       This Court should deny Kroger’s motion for a preliminary injunction for the additional,

independent reason that Kroger has not shown that it will suffer irreparable harm absent an

injunction. First, Kroger’s assertion of irreparable harm based on the burden of being subject to

further administrative proceedings is premised on a misreading of Axon Enterprise, Inc. v. FTC,

598 U.S. 175 (2023). Moreover, resolution of the parallel preliminary injunction proceeding in

the District of Oregon may preclude further administrative proceedings anyway. Second, Kroger’s

invocation of the litigation costs of further administrative proceedings fails because the Supreme

Court has conclusively determined that such costs do not constitute irreparable injury. Finally,

Kroger’s vaguely alleged harm regarding “uncertainty” about the fate of the proposed acquisition

would not even be resolved by preliminary injunctive relief. In addition, Kroger has undermined

any assertion of imminent harm by waiting six months to seek this preliminary injunction, and

belatedly filing this lawsuit only seven days before commencement of the preliminary injunction

hearing in the District of Oregon. Finally, the balance of the equities weighs against relief here

given the public’s substantial interest in enforcement of the nation’s antitrust laws.

       Accordingly, if this Court does not transfer this case to the District of Oregon or

alternatively stay further proceedings pending resolution in the related case in the District of

Oregon, it should deny Kroger’s motion for a preliminary injunction.




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                                         BACKGROUND

         Defendants have laid out the relevant background in their simultaneously filed Motion to

Transfer or, Alternatively, to Stay, ECF No. 14 at 2–9, PageID 349–56. Defendants reincorporate

that background here.

                                           ARGUMENT

         Kroger is not entitled to preliminary injunctive relief on either of its two constitutional

claims. In evaluating Kroger’s motion for a preliminary injunction, this Court must consider: “(1)

the movant’s likelihood of success on the merits; (2) whether the movant will suffer irreparable

injury without a preliminary injunction; (3) whether issuance of a preliminary injunction would

cause substantial harm to others; and (4) whether the public interest would be served by issuance

of a preliminary injunction.” McNeilly v. Land, 684 F.3d 611, 615 (6th Cir. 2012). The third and

fourth factors, the balance of equities and the public interest, “merge when the Government is the

opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Here, Kroger fails to establish that it

is likely to succeed on the merits of either of its constitutional claims; fails to establish any

irreparable injury in the absence of a preliminary injunction; and fails to establish that issuance of

a preliminary injunction would serve the public interest.

I.      Kroger cannot establish a likelihood of success on its ALJ removal claim.

         Kroger’s removal claim fails at the outset because Kroger does not establish harm resulting

from the removal restrictions, as required under the Supreme Court’s decision in Collins, 594 U.S.

at 259. Even were the Court to reach the constitutional merits, the Sixth Circuit has already

explained that ALJ removal protections are constitutional. In any event, Kroger would not be

entitled to an injunction on its removal claim regardless of success on the constitutional merits

because the proper remedy for an unconstitutional removal provision is severance.




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        A. Kroger fails to establish harm, as required under Collins.

        Under the Supreme Court’s decision in Collins, a plaintiff challenging a removal protection

is entitled to relief only when the challenged protection “inflict[ed] compensable harm” on the

plaintiff. 594 U.S. at 259. The Sixth Circuit recently confirmed that “Collins thus provides a clear

instruction: To invalidate an agency action due to a removal violation, that constitutional infirmity

must ‘cause’ harm to the challenging party.” Calcutt v. FDIC, 37 F.4th 293, 316 (6th Cir. 2022),

rev’d on other grounds, 598 U.S. 623 (2023). 1 That inquiry “remains the same whether the

petitioner seeks retrospective or prospective relief.” Id.

        A plaintiff cannot establish the requisite harm simply by claiming that an officer took—or

may take in the future—adverse action against him while subject to an unconstitutional removal

protection. Rather, the “constitutional violation must have caused the harm.” Id. at 316. Nor is

it sufficient to invoke the mere “possibility” that the agency may have acted differently if it were

constituted differently. See id. Rather, “a more concrete showing [is] needed” because, otherwise,

“a petitioner could always assert a possibility that an agency with different personnel might have

acted differently.” Id. at 317.

        The Supreme Court provided two “clear-cut” examples of harm attributable to a removal

restriction: (1) where “the President had attempted to remove [the officer] but was prevented from

doing so by a lower court decision holding that he did not have ‘cause’ for removal,” or (2) where

“the President had made a public statement expressing displeasure with actions taken by [the


        1
           Calcutt was reversed in part by the Supreme Court, but the Court specifically declined to grant
certiorari as to the constitutional claims, see Calcutt v. FDIC, 598 U.S. 623, 630 (2023), and the reversal
had nothing to do with Calcutt’s holdings regarding the Take Care Clause, see generally id. Calcutt
therefore remains good law as to these issues. A judicial decision that overrules aspects of a prior decision
does not overrule a holding that it “d[oes] not discuss.” United States v. Cavazos, 950 F.3d 329, 336 (6th
Cir. 2020) (approvingly quoting proposition that a “decision that a court has overruled in part or reversed
in part maintains precedential value to the extent that the earlier opinion doesn’t conflict with the overruling
or reversing opinion” (quoting Bryan A. Garner et al., The Law of Judicial Precedent 308 (2016)).


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officer] and had asserted that he would remove [the officer] if the statute did not stand in the way.”

Collins, 594 U.S. at 259–60. The Sixth Circuit has further suggested that a plaintiff could show

that a removal restriction “inflicted harm” by “preventing superior officers from removing [an

inferior officer] when they attempted to do so, or possibly by altering the [inferior officer]’s

behavior.” Calcutt, 37 F.4th at 316. 2

        In addition to the Sixth Circuit and the Fifth Circuit, see supra note 2, four other courts of

appeal have rejected removal claims for lack of harm under Collins. See, e.g., K & R Contractors,

LLC v. Keene, 86 F.4th 135, 149 (4th Cir. 2023); Leachco, Inc. v. Consumer Prod. Safety Comm’n,

103 F.4th 748, 756 (10th Cir. 2024); Consumer Fin. Prot. Bureau v. Law Offices of Crystal

Moroney, P.C., 63 F.4th 174, 179–80 (2d Cir. 2023); Kaufmann v. Kijakazi, 32 F.4th 843, 849 (9th

Cir. 2022).

        Kroger has not even attempted to establish the requisite harm here. Neither its complaint

nor its preliminary injunction motion even mentions Collins or Calcutt. See generally Compl.;

Mem. of Law in Support of Kroger’s Mot. for Prelim. Inj., ECF No. 3 (“Mot.”). Kroger’s sole

contention of harm arises in the context of the irreparable harm necessary to obtain preliminary

injunctive relief. See Compl. ¶¶ 60–63, PageID 9; Mot. 16–18, PageID 52–54. But Kroger cannot

rely on these assertions of irreparable harm to establish the requisite harm for a removal claim.

The “key inquiry” in establishing the harm for a removal claim is whether the allegedly

“unconstitutional removal protection specifically caused” Kroger to be subject to the allegedly



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          Similarly, the Fifth Circuit has explained that a plaintiff generally must show: “(1) a substantiated
desire by the President to remove the unconstitutionally insulated actor, (2) a perceived inability to remove
the actor due to the infirm provision, and (3) a nexus between the desire to remove and the challenged
actions taken by the insulated actor.” Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, 51 F.4th 616, 632 (5th
Cir. 2022), rev’d on other grounds, 601 U.S. 416 (2024) (affirming summary judgment for CFPB on a
removal power claim because the plaintiffs “fail[ed] to show that the Act’s removal provision inflicted a
constitutional harm”).


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illegitimate administrative proceeding. Calcutt, 37 F.4th at 315 (emphasis added). None of

Kroger’s alleged irreparable harms—(1) the burden of being subject to further administrative

proceedings; (2) litigation costs of such proceedings; and (3) “ongoing uncertainty” regarding the

fate of the proposed acquisition, see Mot. 17, PageID 53—were “caused” by the removal

protections, Calcutt, 37 F.4th at 315; see also, e.g., YAPP USA Automotive Sys., Inc. v. Nat. Labor

Rel. Bd., No. 24-cv-12173, 2024 WL 4119058, *9 (E.D. Mich. Sept. 9, 2024) (rejecting plaintiff’s

reliance on “‘here and now’ injury” pursuant to Axon for purpose of establishing harm under

Collins).

        Even if Kroger attempts to argue that the removal protections somehow caused such harms,

the Sixth Circuit has explained that “vague, generalized allegations” of harm do not suffice.

Calcutt, 37 F.4th at 317. Thus, for example, Calcutt explicitly rejected the plaintiff’s argument

that it was harmed by the mere “possibility that the FDIC would have taken different actions in his

case, if the Board had not been unconstitutionally shielded from removal.” Id. at 316–17. Kroger

has therefore failed to state a removal claim.

        B. Commission ALJs’ removal protections are constitutional.

      This Court need not reach the constitutional merits of Kroger’s removal claim given

Kroger’s failure to establish harm resulting from the removal protection. See United States v.

Elkins, 300 F.3d 638, 647 (6th Cir. 2002) (“Courts should avoid unnecessary constitutional

questions.”). Should the Court decide to reach that issue, however, Kroger’s removal claim would

fail regardless.

      Article II empowers the President to appoint “lesser officers,” which power “includes the

ability to remove” those officers. Seila Law v. CFPB, 591 U.S. 197, 213 (2020). Just as the

“power to remove” is considered “an incident of the power to appoint,” “the power of Congress to

regulate removals [is] incidental to the exercise of its constitutional power to vest appointments.”


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Myers v. United States, 272 U.S. 52, 161 (1926); see also United States v. Perkins, 116 U.S. 483,

485 (1886). Thus, the key inquiry in removal claims is whether Congress has “interfere[d] with

the President’s exercise of the ‘executive power’ and his constitutionally appointed duty to ‘take

care that the laws be faithfully executed’ under Article II.” Morrison v. Olson, 487 U.S. 654, 690

(1988) (citation omitted).

      Congress has not so interfered by setting removal protections for ALJs. Congress created

ALJs when it enacted the Administrative Procedure Act (“APA”) in 1946. See An Act, Pub. L.

No. 79-404 § 11, 60 Stat. 237, 244 (1946). That provision is now codified in 5 U.S.C. § 7521(a),

which provides that all ALJs—including Commission ALJs—may be removed by their appointing

agency “only for good cause established and determined by the Merit Systems Protection Board

[(‘MSPB’)].” MSPB members, in turn, are removable by the President “only for inefficiency,

neglect of duty, or malfeasance in office.” 5 U.S.C. § 1202(d). This longstanding scheme gives

ALJs a “qualified right of decisional independence,” Nash v. Califano, 613 F.2d 10, 15 (2d Cir.

1980), and was designed to rebut allegations that ALJs might be “mere tools of the agency” who

were “subservient to the agency heads in making their proposed findings of fact and

recommendations.” Ramspeck v. Fed. Trial Exam’rs Conf., 345 U.S. 128, 131 (1953).

      Kroger argues that Commission ALJs thus enjoy “two layers of for-cause protection from

presidential removal” allegedly in violation of the Supreme Court’s decision in Free Enterprise

Fund. v. Public Company Accounting Oversight Board, 561 U.S. 477 (2010). Compl. ¶ 2, PageID

1; see also Mot. 7–11, PageID 43–47. But Kroger’s argument misunderstands the role of the

MSPB and, as the Sixth Circuit has already confirmed, stretches Free Enterprise Fund beyond its

reach.




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               a. The MSPB’s review for “good cause” does not render the ALJs’
                  protections unconstitutional.

       Preliminarily, although MSPB members have removal protections, see 5 U.S.C. § 1202(d),

Kroger is incorrect to assume that this creates an additional layer of removal protection for

Commission ALJs. An ALJ is removable “by the agency in which the [ALJ] is employed,” 5

U.S.C. § 7521(a), not by the MSPB. The MSPB’s role is merely to hold a hearing and determine

whether the requisite “good cause” exists if the agency removes an ALJ and the ALJ subsequently

challenges that removal decision. See id. The MSPB makes no policy judgment as to whether an

ALJ should be removed. See SSA v. Levinson, 2023 M.S.P.B. 20, ¶¶ 37–38 (2023).

       The MSPB’s function thus mirrors that of a court reviewing claims that an officer has been

improperly removed. The Supreme Court has perceived “no constitutional problem” with “judicial

review of the removal decision” because judicial review to ensure that removals occur only in

accordance with a statute neither “inject[s] the Judicial Branch into the removal decision” nor

“put[s] any additional burden on the President’s exercise of executive authority.” Morrison, 487

U.S. at 693 n.33. If it is constitutional for a court—wholly beyond the control of the President—

to adjudicate whether cause for removal has been demonstrated, it is constitutional for the MSPB

(which is more accountable to the President) to conduct the same adjudication.

       Indeed, the Court of Appeals for the Eighth Circuit recently denied a motion for an

injunction pending appeal that raised an MSPB-based removal challenge to Commission ALJs. In

H&R Block Inc. v. Himes, No. 24-2626 (8th Cir.), the plaintiffs argued that Commission ALJs

enjoy unconstitutional “triple-insulated” removal protections because “the President lacks at-will

removal power over the MSPB members and FTC Commissioners who must concur to remove

FTC ALJs.” Appellants’ Mot. for Inj. Pending Appeal at 11, H&R Block, No. 24-2626 (8th Cir.

Aug. 12, 2024) (attached as Exhibit A). The Eighth Circuit rejected that argument in denying the



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plaintiffs’ motion for an injunction pending appeal. See Order, H&R Block, No. 24-2626 (8th Cir.

Sept. 13, 2024) (attached as Exhibit B). This Court should similarly reject Kroger’s argument that

MSPB removal protections add an additional layer of removal protection or otherwise have any

bearing on the constitutional inquiry here.

               b. Regardless, Commission ALJs’ removal protections are constitutional.

       Regardless of whether MSPB removal protections add an additional layer of removal

protection for ALJs, the Sixth Circuit has already explained that ALJ removal protections are

distinguishable from the removal protections held unconstitutional in Free Enterprise Fund.

       In Free Enterprise Fund, the Supreme Court invalidated the “highly unusual” and “sharply

circumscribed” removal standard for members of the Public Company Accounting Oversight

Board (“PCAOB”), a regulatory body overseen by the Securities and Exchange Commission

(“SEC”). See 561 U.S. at 492–508. Given the Court’s understanding that SEC Commissioners

also have tenure protections, it found that “the President [wa]s no longer the judge of the

[PCAOB]’s conduct” because he lacked “the ability to oversee the [PCAOB], or to attribute the

[PCAOB]’s failings to those whom he can oversee.” Id. at 492, 496. Accordingly, the Court

invalidated and severed the PCAOB’s removal protections. Id. at 509. The Court took pains,

however, to explain that it was not making “general pronouncements on matters neither briefed

nor argued here.” Id. at 506. In particular, the Court clarified that its holding did “not address that

subset of independent agency employees who serve as administrative law judges.” Id. at 507 n.10.

      Subsequently, the Sixth Circuit explained that Free Enterprise Fund “provides weak

support” for ALJ removal claims like Kroger’s because Free Enterprise Fund “explicitly excludes

ALJs from its prohibition on multiple levels of for-cause removal protection.” Calcutt, 37 F.4th

at 318. Additionally, the Sixth Circuit distinguished the removal protections for ALJs from those




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in Free Enterprise Fund “because agencies can choose not to use ALJs in adjudications . . . and

many ALJs perform adjudicatory functions that are subject to review by higher agency officials.”

Id. (citing Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 537 F.3d 667, 699 n.8 (D.C. Cir.

2008) (Kavanaugh, J., dissenting)). Thus, “though [Kroger] is correct that Free Enterprise Fund

left open whether it applied to ALJs, that decision’s reasoning for exempting ALJs still extends

to” the Commission ALJs here. Id.; see also, e.g., YAPP USA Automotive Sys., Inc., 2024 WL

4119058, *7–8 (applying Calcutt to find claim challenging double-layer removal protections for

National Labor Relations Board (“NLRB”) ALJs unlikely to succeed).

      Indeed, consistent with the Sixth Circuit’s explanation in Calcutt, the limited removal

protections afforded to Commission ALJs fall comfortably within the bounds of Congress’s

authority. See, e.g., H&R Block Inc. v. Himes, No. 24-00198-CV-W-BP, 2024 WL 3742310, at

*3–6 (W.D. Mo. Aug. 1, 2024) (finding double-layer removal challenge to Commission ALJs not

likely to succeed). First, Commission ALJs “perform adjudicative rather than enforcement or

policymaking functions.” Free Enter. Fund, 561 U.S. at 507 n.10; see also Calcutt, 37 F.4th at

318. Commission ALJs are a far cry from PCAOB members, which the Supreme Court described

as “the regulator of first resort and the primary law enforcement authority for a vital sector of [the]

economy” with authority to “take significant enforcement actions” and “regulate every detail of

an accounting firm’s practice.” Free Enter. Fund, 561 U.S. at 504, 508. Providing tenure

protections for Commission ALJs thus does not raise the same concern about wresting policy and

enforcement decisions from the hands of the President that restrictions on removal of PCAOB

members did.

      Second, the statutory scheme here leaves the Commission significantly more control than

the SEC had in Free Enterprise Fund. In Free Enterprise Fund, the PCAOB had “significant




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independence in determining its priorities and intervening in the affairs” of the parties it regulated,

and the SEC had no “effective power to start, stop, or alter individual [PCAOB] investigations.”

Id. at 501, 504–05. Here, in stark contrast, the Commission has no obligation to use ALJs at all,

is not bound by their recommended decisions when it does, and reviews those recommendations

with the freedom to request new information and to “modify” or “set aside” any portion. See 16

C.F.R. §§ 3.42, 3.51–.54; see also Calcutt, 37 F.4th at 318. Any concerns are particularly

misplaced here because Commission ALJs hearing cases under the Clayton Act and the FTC Act

issue only recommended decisions that are subject to the Commission’s plenary review—ensuring

that private parties will be governed by the Commission’s own policy judgments, not those of an

ALJ. 16 C.F.R. §§ 3.52–.54. And in reaching those policy judgments, the Commission is free to

expand the record beyond that compiled by the ALJ. See id. § 3.54(b). The Commission thus

retains ultimate control over the matter.

      Third, the “good cause” standard for removing ALJs is less demanding than that invalidated

in Free Enterprise Fund. PCAOB members were removable only for “willful violations” of

certain laws and rules, “willful abuse of authority,” or “unreasonable failure to enforce

compliance.” Free Enter. Fund, 561 U.S. at 503. That “unusually high standard,” when combined

with SEC Commissioners’ removal protections, posed a “more serious threat to executive control

than an ‘ordinary’ dual-for-cause standard.” Id. at 502–03. Commission ALJs, in contrast, may

be removed for “all matters which affect the ability and fitness of the ALJ to perform the duties of

office.” Abrams v. SSA, 703 F.3d 538, 543 (Fed. Cir. 2012) (quotation marks omitted). “Good

cause” thus encompasses an ALJ’s disregard for the Commission’s binding legal and policy

judgments, cf. Morrison, 487 U.S. at 724 n.4 (Scalia, J., dissenting); significant misconduct, id. at

692 (majority opinion); and substantially deficient job performance, including failure to follow




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instructions, Abrams, 703 F.3d at 543.

      Given that ALJ removal protections do not implicate the same concerns outlined in Free

Enterprise Fund, multiple other courts of appeals have rejected similar challenges, agreeing with

the Sixth Circuit that ALJs “‘perform[] a purely adjudicatory function’” and not a policymaking

one. Leachco, 103 F.4th at 763–64; see also Decker Coal Co. v. Pehringer, 8 F.4th 1123, 1135

(9th Cir. 2021). And as noted above, the Eighth Circuit recently denied an injunction pending

appeal specifically raising a removal challenge to Commission ALJs. See Ex. B (Order, H&R

Block, No. 24-2626 (8th Cir. Sept. 13, 2024)). The district court in that same case explained that

the plaintiffs’ removal challenge to Commission ALJs was not likely to succeed for all the same

reasons that Defendants have explained here—including “differences between the [PCAOB

members] in that case and the FTC ALJs,” and the Supreme Court’s suggestion in Free Enterprise

Fund that its holding “did not apply” to ALJs. See H&R Block Inc., 2024 WL 3742310, at *3–6;

see also YAPP USA Automotive Sys., Inc., 2024 WL 4119058, *7–8 (finding plaintiff not likely to

succeed on NLRB ALJ removal claim); Alivio Medical Center v. Jennifer Abruzzo, No. 24-cv-

7217, 2024 WL 4188068, at *10 (N.D. Ill. Sept. 13, 2024) (same).

      Only one court of appeals—the Fifth Circuit—has held that ALJ removal protections are

unconstitutional. See Jarkesy v. SEC, 34 F.4th 446, 464 (5th Cir. 2022) (concluding in a divided

opinion that SEC ALJ removal protections are unconstitutional), aff’d on other grounds, 144 S.

Ct. 2117 (2024). But as the Tenth Circuit noted, the Fifth Circuit “seemed to disregard the

distinction between the PCAOB members in Free Enterprise Fund, who exercised executive

functions, and ALJs, who perform adjudicatory functions.” Leachco, 103 F.4th at 764 (citing

Jarkesy, 34 F.4th at 465); see also H&R Block Inc., 2024 WL 3742310, at *5 n.7 (explaining that




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Jarkesy relies on “reasoning that has been rejected by other courts that have addressed the issue”). 3

      Accordingly, consistent with the Sixth Circuit’s discussion in Calcutt, this Court should hold

that Kroger has failed to establish likely success on the merits of its removal claim.

        C. Kroger is not entitled to injunctive relief because the removal protections are
           severable in any event.

      Even if Kroger had shown harm (which it has not), and even if it had established that the

good-cause protections were unconstitutional (which it has not), the proper remedy would be

severance of the offending removal provisions—not injunctive relief barring the administrative

adjudication from taking place. “[W]hen confronting a constitutional flaw in a statute,” courts

generally “limit the solution to the problem,” severing the “problematic portions while leaving the

remainder intact.” Free Enter. Fund, 561 U.S. at 508 (citation omitted). The Supreme Court has

taken this approach in every instance over the past fifteen years in which it has found a structural

constitutional defect in the appointment or removal provisions of a statute. See id. at 508 (rejecting

argument that unconstitutionally structured PCAOB should be precluded from exercise of

authority and instead excising removal protections); Seila Law, 591 U.S. at 237 (severing removal

protections, thereby using “a scalpel rather than a bulldozer in curing the constitutional defect”);

see also Collins, 594 U.S. at 256; United States v. Arthrex, Inc., 594 U.S. 1, 23–25 (2021) (plurality

opinion).

      Thus, even if plaintiffs were to succeed on the merits of their claim, the proper relief would

be severance of the offending provision. The Court should not enter preliminary injunctive relief

that would not be obtainable upon final resolution of the merits.




        3
         Kroger also cites a single district court case that the Government has appealed—and which failed
to contend with Collins. See Walmart Inc. v. King, No. CV 623-040, 2024 WL 1258223, at *4 (S.D. Ga.
Mar. 25, 2024), appeal filed, No. 24-11733 (11th Cir. June 16, 2024).


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II.   Kroger fails to establish likelihood of success on its Article III claim.

       Kroger similarly fails to establish likely success on its Article III claim, as the claims raised

in the Commission’s administrative complaint involve longstanding public rights that may be

adjudicated by an agency. See Compl. ¶¶ 72–76, PageID 11; Mot. 11–16, PageID 47–52. The

Supreme Court has long recognized that “no involvement by an Article III court in the initial

adjudication is necessary” in cases involving “public rights,” as opposed to “private rights.”

Jarkesy, 144 S. Ct. at 2132. While the Court “has not definitively explained the distinction

between” private rights and public rights,” a “hallmark” of a private-rights matter is whether “it is

made of the stuff of the traditional actions at common law tried by the courts at Westminster in

1789.” Id. at 2132 (cleaned up and citation omitted). On the other hand, public-rights matters

include those that “historically could have been determined exclusively by the executive and

legislative branches, even when they were presented in such form that the judicial power was

capable of acting on them.” Id. (quoting Den ex dem. Murray v. Hoboken Land & Imp. Co., 59

U.S. 272, 284 (1855)) (cleaned up); see also Crowell v. Benson, 285 U.S. 22, 51 (1932) (describing

public rights matters as those “matters, arising between the government and others, which from

their nature do not require judicial determination and yet are susceptible of it”).

       The adjudication of harm to competition under the Clayton Act and the FTC Act is a public-

rights matter. Pursuant to Congressional direction, the Commission has been adjudicating merger

cases in administrative proceedings for 110 years. Supreme Court precedent confirms that these

cases involve public rights that may properly be adjudicated by an agency, and nothing in Jarkesy

upends that long-settled determination. Moreover, both the Clayton Act and the FTC Act created

new causes of action that did not derive from the common law.




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       A. The Commission adjudicates public rights under the Clayton Act and the FTC
          Act.

       The Supreme Court has long recognized that the Government’s adjudication of harm to

competition pursuant to the Clayton Act and the FTC Act is a paradigmatic example of a “public

rights” matter. In Crowell v. Benson, the Court specifically pointed to a Clayton Act case involving

the Commission as one of the “[f]amiliar illustrations of administrative agencies created for the

determination of [public-rights] matters.” 285 U.S. at 51 & n.13. The Commission case that

Crowell invoked, International Shoe Co. v. FTC, 280 U.S. 291, 297 (1930), “explained that

Section 7 of the Clayton Act, as its terms and the nature of the remedy prescribed plainly suggest,

was intended for the protection of the public against the evils which were supposed to flow from

the undue lessening of competition.” Id. at 297–98 (emphasis added); see also, e.g., FTC v.

Eastman Kodak Co., 274 U.S. 619, 623 (1927) (“The Commission exercises only the

administrative functions delegated to it by the [FTC] Act, not judicial powers.” (citing Nat’l

Harness Mfrs.’ Ass’n v. FTC, 268 F. 705, 707 (6th Cir. 1920))).

       The Supreme Court has also repeatedly emphasized that the Clayton Act and the FTC Act

are “concern[ed] with the protection of competition, not competitors.” Brown Shoe Co. v. United

States, 370 U.S. 294, 320 (1962) (emphasis added). The Clayton Act “seek[s] to protect the public

from abuses arising in the course of competitive interstate and foreign trade.” Pan Am. World

Airways, Inc. v. United States, 371 U.S. 296, 307 (1963) (citation omitted). It “do[es] not embrace

a remedy for private wrongs but only a means of vindicating the public interest.” Id. at 306.

Similarly, the FTC Act is concerned “with protection of the public interest,” not “punishment of

wrongdoing or protection of injured competitors.” Am. Airlines v. N. Am. Airlines, 351 U.S. 79,

85–86 (1956).

       Moreover, the Supreme Court has highlighted the public import of administrative



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adjudication of potentially anticompetitive activities. Congress created the Commission as a

nonpartisan body of experts who could bring their specialized expertise to bear on competition

issues that affected the public. See, e.g., FTC v. Cement Institute, 333 U.S. 683, 726 (1943)

(“Congress when it passed the Trade Commission Act felt that courts needed the assistance of men

trained to combat monopolistic practices in the framing of judicial decrees in antitrust litigation.

Congress envisioned a commission trained in this type of work by experience in carrying out the

functions imposed upon it.”); FTC v. Morton Salt Co., 334 U.S. 37, 54 (1948) (“One of the reasons

for entrusting enforcement of this Act primarily to the Commission, a body of experts, was to

authorize it to hear evidence . . . and to make findings concerning possible injury to competition.”).

In short, the Supreme Court has long recognized that administrative adjudication of Clayton Act

and FTC Act claims is proper because those claims involve public rights, not private rights.

       Congress’s careful delineation of the Commission’s role relative to that of the courts further

confirms that the Commission does “not employ its powers to vindicate private rights.” Am.

Airlines, 351 U.S. at 83. In other words, as noted in the Senate Report for the FTC Act: “It was

never the intention of Congress that the Commission should be a forum where private disputes or

controversies . . . should be settled.” Holloway v. Bristol-Myers Corp., 485 F.2d 986, 1000 n.63

(D.C. Cir. 1973) (quoting S. Rep. No. 221, 75th Cong., 1st Sess. at 2 (1937)). That intent is evident

throughout the Clayton Act and the FTC Act. For example, only a court can provide monetary

redress to injured consumers under the FTC Act. See AMG Cap. Mgmt., LLC v. FTC, 593 U.S.

67, 77–78 (2021) (discussing 15 U.S.C. §§ 45, 53(b), and 57b(b)). And if a company violates a

cease-and-desist order under the Clayton Act or the FTC Act, only a court can impose civil

penalties or a mandatory injunction to enforce the order. See 15 U.S.C. §§ 21(l), 45(l). Both

statutes also provide for judicial review of the Commission’s cease-and-desist orders. See 15




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U.S.C. § 21(b), (c); see id. § 45(b), (c).

        These features of the Clayton Act and the FTC Act prevent the executive branch from

encroaching on the judicial branch or otherwise aggrandizing executive powers. See Mistretta v.

United States, 488 U.S. 361, 382 (1989) (“It is this concern of encroachment and aggrandizement

that has animated our separation-of-powers jurisprudence[.]”); see also City of Arlington, Tex. v.

FCC, 569 U.S. 290, 305 n.4 (2013) (“Agencies make rules . . . and conduct adjudications . . . and

have done so since the beginning of the Republic. These activities take ‘legislative’ and ‘judicial’

forms, but they are exercises of—indeed, under our constitutional structure they must be exercises

of—the ‘executive Power.’”); A.L.A. Schechter Poultry Corp. v. United States, 295 U.S. 495, 533

(1935) (noting Commission administrative procedure comports with separation of powers because

judicial review “give[s] assurance that the action of the commission is taken within its statutory

authority”). 4

        B. Jarkesy does not upend this century-old statutory scheme.

        Kroger’s reliance on Jarkesy to upend over a century of Commission adjudication is

unavailing. Preliminarily, Jarkesy was a Seventh Amendment case; the Supreme Court did not

consider how Article III applies to administrative adjudication where, as here, the claims do not

implicate the right to a jury trial. See, e.g., Jarkesy, 144 S. Ct. at 2139–40 (Gorsuch, J., concurring)

(“The Court decides a single issue: Whether the Securities and Exchange Commission’s use of in-

house hearings to seek civil penalties violates the Seventh Amendment right to a jury trial.”). Thus,



        4
           In the years following the FTC Act’s passage, many courts of appeals—including the Sixth
Circuit—explicitly confirmed that the FTC Act does not usurp the power of Article III courts. See, e.g.,
Nat’l Harness Mfrs.’ Ass’n, 268 F. at 707 (“The act delegates to the commission no judicial powers, nor
does it, in our opinion, confer invalid executive or administrative authority.”); Sears, Roebuck & Co. v.
FTC, 258 F. 307, 311 (7th Cir. 1919) (rejecting argument that FTC Act “brings about an unconstitutional
delegation of legislative and judicial power to the commission”); Arkansas Wholesale Grocers’ Ass’n v.
FTC, 18 F.2d 866, 870 (8th Cir. 1927); Ostler Candy Co. v. FTC, 106 F.2d 962, 964 (10th Cir. 1939).


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Jarkesy lends no support to Kroger’s Article III claim.

       Even if Jarkesy’s discussion of the public-rights exception to the Seventh Amendment

implicated Article III questions that the Supreme Court did not address, Kroger’s Article III claim

would still fail. Contrary to Kroger’s assertion, nothing in Jarkesy upsets the long-settled

determination that Clayton Act and FTC Act claims involve public rights that can properly be

adjudicated in administrative proceedings. Indeed, Jarkesy expressly cited to Crowell’s discussion

of such “familiar” examples of public rights. Jarkesy, 144 S. Ct. at 2133 (citing Crowell, 285 U.S.

at 51). Moreover, Jarkesy held only that an SEC securities fraud enforcement action to recover

civil money penalties was not a public-rights matter, as civil penalties are a “punitive remedy” that

may be enforced only in courts of law. Id. at 2136. Civil penalties are not at issue here: the

Commission has no power to impose civil penalties in Section 5 or Section 7 proceedings. See 15

U.S.C. § 45(b), (l); id. § 21(b), (l). Jarkesy did not purport to upend the long history of

administrative adjudication outside the narrow context of civil penalties. See, e.g., Crowell, 285

U.S. at 50–51 (1932); NLRB v. Jones & Laughlin Steel Corp., 301 U.S. 1, 48 (1937); Thomas v.

Union Carbide Agricultural Products Co., 473 U.S. 568, 583 (1985).

       Further, while the securities fraud statute in Jarkesy was “barely over a decade old,” 144

S. Ct. at 2134 n.2, the Commission has adjudicated claims under the Clayton Act and the FTC Act

for over a century, and the Supreme Court has reaffirmed the Commission’s authority to do so

many times. See, e.g., AMG, 593 U.S. at 72 (“Ever since the Commission’s creation in 1914, it

has been authorized to enforce the [FTC] Act through its own administrative proceedings.”); Jacob

Siegel Co. v. FTC, 327 U.S. 608, 612–14 (1946) (“The Commission is the expert body to determine

what remedy is necessary to eliminate the unfair or deceptive trade practices which have been

disclosed. It has wide latitude for judgment and the courts will not interfere except where the




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remedy selected has no reasonable relation to the unlawful practices found to exist.”); FTC v. Dean

Foods Co., 384 U.S. 597, 606 (1966) (“[T]he Commission is a governmental agency to which

Congress has entrusted, inter alia, the enforcement of the Clayton Act, granting it the power to

order divestiture in appropriate cases.”).   Jarkesy does not purport to overturn these well-

established precedents. The Commission’s administrative adjudication of the legality of mergers

involves public-rights matters.

       C. The Clayton Act and the FTC Act created rights distinct from the common law.

       The Clayton Act and the FTC Act are further distinguishable from the securities fraud

statute in Jarkesy because they were “self-consciously novel” in “both concept and execution.”

Jarkesy, 144 S. Ct. at 2137. They “did not borrow . . . cause[s] of action from the common law,”

nor was their “purpose” “to enable the Federal Government to bring or adjudicate claims that

traced their ancestry to the common law.” Id.

       When enacted in 1914, the FTC Act prohibited “unfair methods of competition.” 15 U.S.C.

§ 45(a)(2). It was intended “to stop in their incipiency those methods of competition which fall

within the meaning of the word ‘unfair.’” FTC v. Raladam Co., 283 U.S. 643, 647 (1931). The

common law did not recognize such actions to stop unfair practices in their incipiency. Indeed, as

the Supreme Court observed, “[i]t would not have been a difficult feat of draftsmanship to have

restricted the operation of the [FTC] Act to those methods of competition in interstate commerce

which are forbidden at common law . . . , if that had been the purpose of the legislation.” FTC v.

Sperry & Hutchinson Co., 405 U.S. 233, 243 (1972) (quoting FTC v. R.F. Keppel & Bro., 291 U.S.

304, 310 (1934)). But codifying the common law was not its purpose. Instead, Congress

“explicitly considered, and rejected” the idea of “tying the concept of unfairness to a common-law

or statutory standard.” Id. at 240. Congress found the common law “too narrow,” and thus instead

chose to prohibit “unfair methods of competition”—“an expression new in the law.” Schechter


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Poultry Corp., 295 U.S. at 532; see also Keppel, 291 U.S. at 310–12 (noting Congress declined to

use the term “unfair competition” because “the meaning which the common law had given to those

words was deemed too narrow,” and so “the broader and more flexible phrase ‘unfair methods of

competition’ was substituted”).

       As the House Conference Report explained: “It is impossible to frame definitions which

embrace all unfair practices. There is no limit to human inventiveness in this field. Even if all

known unfair practices were specifically defined and prohibited, it would be at once necessary to

begin over again.” Id. at 240 (quoting H.R. Conf. Rep. No. 1142, 63d Cong., 2d Sess. 19 (1914).

So Congress chose to, “by a general declaration condemning unfair practices, leave it to the

commission to determine what practices were unfair.” Id. (quoting S. Rep. No. 597, 63d Cong.,

2d Sess., at 13 (1914)); see also Pan Am., 371 U.S. at 306 (describing FTC Act’s proscription on

“unfair methods of competition” as “a broader concept than the common-law idea of unfair

competition” (citation and quotation marks omitted)). Congress thus created the Commission—

“a body of experts” with “proper knowledge of both the public requirements and the practical

affairs of industry,” Humphrey’s Ex’r v. United States, 295 U.S. 602, 624–25 (1935)—and gave it

“an influential role in interpreting § 5 [of the FTC Act] and in applying it to the facts of particular

cases arising out of unprecedented situations,” FTC v. Colgate-Palmolive Co., 380 U.S. 374, 385

(1965); see also FTC v. Algoma Lumber Co., 291 U.S. 67, 78–81 (1934) (describing the

Commission as the “champion at hand to put an end” to abuses “not actionable” at common law).

       Just as the FTC Act was intended “to stop in their incipiency those methods of competition

which fall within the meaning of the word ‘unfair,’” Radalam Co., 283 U.S. at 647, so too was the

Clayton Act intended “to arrest the creation of trusts, conspiracies, and monopolies in their

incipiency and before consummation.” S. Rep. No. 63-698 at 1 (1913); see also FTC v. Procter




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& Gamble Co., 386 U.S. 568, 577 (1967) (“[T]here is certainly no requirement that the

anticompetitive power manifest itself in anticompetitive action before § 7 [of the Clayton Act] can

be called into play. If the enforcement of § 7 turned on the existence of actual anticompetitive

practices, the congressional policy of thwarting such practices in their incipiency would be

frustrated.”).

        Congress enacted the Clayton Act in response to deficiencies in the Sherman Act (which

itself was distinct from the common law, see infra pp. 22–23). The Clayton Act was intended not

“to enable the Federal Government to bring or adjudicate claims that traced their ancestry to the

common law,” Jarkesy, 144 S. Ct. at 2137, but to address a far broader scope of conduct not

previously considered by the Sherman Act or by the common law, see S. Rep. No. 63-698 at 1

(1913) (intending “to prohibit and make unlawful certain trade practices which, as a rule, singly

and in themselves, are not covered by the [Sherman Act] . . . or other existing antitrust acts”).

Thus, “Congress rejected, as inappropriate to the problem it sought to remedy, the application to

§ 7 cases of the standards for judging the legality of business combinations adopted by the courts

in dealing with cases arising under the Sherman Act.” Brown Shoe Co., 370 U.S. at 317–18.

        Accordingly, the history of the Clayton Act and the FTC Act confirm that adjudication of

the legality of mergers implicates public rights, not private rights.

        D. Kroger’s arguments to the contrary are unavailing.

        First, Kroger’s assertion that “competition claims have a common-law history”

mischaracterizes both the common-law history and the relevant inquiry. As explained above, both

the Clayton Act and the FTC Act created causes of action distinct from the common law. See

supra pp. 19–21. Relevant here, they created new statutory duties that exist between regulated

parties and the Government to protect the public by preserving competition. Cf. Stern v. Marshall,

564 U.S. 462, 489, 493 (2011) (explaining that private rights involve disputes between “two


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private parties” regarding the “the liability of one individual to another under the law as defined”

(quoting Crowell, 285 U.S. at 50)).

        Kroger’s sole argument to the contrary is reference to “common law actions for unlawful

‘restraints of trade,’” which Kroger alleges were “partially codified” in the Sherman Act. Mot. 13,

PageID 49. But the administrative proceeding challenged here involves alleged violations not of

the Sherman Act but of the Clayton Act—which Congress enacted explicitly in response to the

perceived deficiencies of the Sherman Act, see supra p. 21—and of the FTC Act. Any alleged

common-law history of the Sherman Act’s prohibition on unlawful restraints of trade is therefore

irrelevant, and Kroger fails to explain how the Clayton Act or the FTC Act derive from common-

law causes of action.

        In any event, the Sherman Act was also not born of common law. While “‘restraint of

trade’ . . . had a well-understood meaning at common law,” Apex Hosiery Co. v. Leader, 310 U.S.

469, 490 (1940), “[c]ontracts that were unreasonable restraint of trade at common law were not

unlawful in the sense of being criminal, or giving rise to a civil action of damages in favor of one

prejudicially affected thereby, but were simply void, and were not enforced by the court,” United

States v. Addyston Pipe & Steel Co., 85 F. 271, 279 (6th Cir. 1898) (Taft, J.). Thus, “[t]he effect

of the [Sherman] act of 1890 [wa]s to render such contracts unlawful in an affirmative or positive

sense, and punishable as a misdemeanor, and to create a right of civil action for damages in favor

of those injured thereby, and a civil remedy by injunction in favor of both private persons and the

public against the execution of such contracts and the maintenance of such trade restraints.” Id. 5


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          See also Areeda & Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and their
Application ¶ 301a (2024) (noting that the Sherman Act “neither specifically adopted any particular
[common law] doctrines nor those of any state” and “at the time the Sherman Act was passed the common
law was in an unsettled state, and there was little consensus about its meaning”); 1 Antitrust Laws & Trade
Regulation § 8.04 (2d ed. 2024) (“[T]he common law was inadequate to cope with the restraints, unfair



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        In other words, the common law did not give the public any rights to relief against restraints

of trade; rather, Congress created such rights when it passed the Sherman Act, and later the Clayton

Act and the FTC Act. Compare Oregon Steam Nav. Co. v. Winsor, 87 U.S. 64, 65 (1873) (noting

only the “well-settled rule of [common] law that an agreement in general restraint of trade is illegal

and void”) with United States v. Philadelphia Nat. Bank, 374 U.S. 321, 364–65 (1963) (explaining

that the Clayton Act’s “intense” “concern with the trend towards concentration warrants

dispensing, in certain cases, with elaborate proof of market structure, market behavior, or probable

anticompetitive effects”). Thus, even assuming the historical roots of the Sherman Act were

relevant here, those historical roots highlight the public-rights nature of the Clayton Act and the

FTC Act. Kroger fails to establish any serious similarity between the common-law concept of

“restraints of trade” and the violations of which it has been accused—“an unfair method of

competition” in violation of Section 5 of the FTC Act and a proposed acquisition, which, “if

consummated, may substantially lessen competition” in violation of Section 7 of the Clayton Act.

See Compl., In re Kroger Co., Dkt. No. 9428 (FTC), https://perma.cc/3T6W-EC3V.

        Second, the administrative proceeding does not involve private rights merely because it

implicates Kroger’s property rights. “Many matters that involve the application of legal standards

to facts and affect private interests are routinely decided by agency action with limited or no review

by Article III courts.” Thomas, 473 U.S. at 583; see also, e.g., Commodity Futures Trading

Comm’n v. Schor, 478 U.S. 833, 853 (1986) (allowing CFTC to adjudicate debit balance claims

between commodity futures brokers and customers, which involved “private rights” “assumed to

be at the ‘core’ of matters normally reserved to Article III courts”); Crowell, 285 U.S. at 51–53


trade practices, monopolies, trusts, and the like which emerged in the nineteenth century. . . . [T]here was
no uniform, national body of case law. Instead, each state was developing its own, often conflicting system
of judicial precedent, and it soon became apparent that there was no federal common law on which to
rely.”).


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(replacing injured longshore workers’ traditional negligence cause of action against employers

with an administrative workers’ compensation system requiring employers to pay compensation

to injured workers). Thus, as one district court has explained in rejecting the same argument that

Kroger makes here, “[t]he dividing line between private rights and public rights is not whether an

adjudication might have some impact on a person’s property; indeed, most administrative

adjudications have such an effect.” Meta Platforms, Inc. v. FTC, No. 23-cv-3562 (RDM), 2024

WL 1121424, at *19 (D.D.C. Mar. 15, 2024).

       Kroger protests that Supreme Court and Sixth Circuit public-rights cases have not

explicitly applied the public-rights doctrine to Clayton Act or FTC Act administrative proceedings.

See Mot. 14, PageID 50. But this ignores the Supreme Court’s decisions in Crowell, 285 U.S. at

51, and International Shoe, 280 U.S. at 297, both of which recognized the public-rights nature of

the Commission administrative adjudication, see supra p. 15; and Schechter Poultry Corp., which

noted that Commission administrative procedure comports with separation of powers, see 295 U.S.

at 533; see also supra p. 17. And indeed, the Sixth Circuit did explicitly reject a separation-of-

powers challenge to the Commission’s enforcement of the FTC Act through administrative

adjudication shortly after its enactment. See Nat’l Harness Mfrs.’ Ass’n, 268 F. at 707. Regardless,

the relevant inquiry is not whether the matter involves regulatory fines, public benefits or

compensation, or private claims embedded in regulatory proceedings, see Mot. 14, PageID 50, but

whether the matter “‘historically could have been determined exclusively by the executive and

legislative branches,’ even when they were ‘presented in such form that the judicial power was

capable of acting on them.’” Jarkesy, 144 S. Ct. at 2132 (cleaned up and citations omitted). And

here, Kroger challenges causes of action under the Clayton Act and the FTC Act that had no

common-law equivalent and were actionable by the Commission only in administrative courts




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until the introduction of Section 13(b) in 1973. See 15 U.S.C. § 53(b).

       Third, overturning more than a century of precedent allowing the Commission to adjudicate

these types of claims would indeed “dismantle the statutory scheme” and “impede swift resolution”

of the statutory claims. Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 60–63 (1989); see Mot.

15, PageID 51. Although Section 13(b) authorizes the Commission to seek permanent injunctions,

see 15 U.S.C. § 53(b), Congress plainly did not intend for permanent injunction proceedings to

displace administrative proceedings.    The Commission had been conducting administrative

proceedings for nearly sixty years when Congress enacted Section 13(b) in 1973. And the bulk of

the statute deals with preliminary injunctions to halt potentially unlawful practices while the

Commission assesses their legality, confirming Congress’s intent that the Commission continue to

enforce the Clayton Act and the FTC Act through administrative adjudication. See AMG Capital

Mgmt., 593 U.S. at 77 (noting the “historical importance of administrative proceedings”). Indeed,

as explained above, the Supreme Court has specifically recognized the importance of a nonpartisan

body of experts to administratively adjudicate potential harm to competition. See supra pp. 15–

16; see, e.g., FTC v. Cement Institute, 333 U.S. at 726; FTC v. Morton Salt Co., 334 U.S. at 54.

Suddenly rescinding the Commission’s authority to administratively adjudicate claims under the

Clayton Act and the FTC Act, reversing a century of precedent, would doubtless “impede swift

resolution” of those claims. Granfinanciera, 492 U.S. at 63.

III. Kroger has not established irreparable harm.

      Kroger’s motion for a preliminary injunction should also be denied because it has shown no

likelihood of irreparable harm absent an injunction. See D.T. v. Sumner Cnty. Sch., 942 F.3d 324,

326–27 (6th Cir. 2019) (“[E]ven the strongest showing on the other three factors cannot ‘eliminate

the irreparable harm requirement.’” (quoting Friendship Materials, Inc. v. Mich. Brick, Inc., 679

F.2d 100, 105 (6th Cir. 1982))). Kroger articulates three purportedly irreparable harms: (1) the


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burden of being subject to further proceedings; (2) litigation costs of further administrative

proceedings; and (3) “ongoing uncertainty” regarding the fate of the proposed acquisition. Mot.

17, PageID 53. None suffices.

      First, Kroger misplaces its reliance on a statement in Axon Enterprise, 598 U.S. at 191, when

it alleges that “being subjected to an illegitimate proceeding is a ‘here-and-now injury’ that . . . ‘is

impossible to remedy once the proceeding is over.” Mot. 16, PageID 52 (quoting Axon Enterprise,

598 U.S. at 191). Kroger overreads Axon, which stands only for the proposition that federal district

courts have jurisdiction to hear certain structural constitutional challenges to the conduct of an

ongoing administrative proceeding. See 598 U.S. at 180. Axon does not hold, as Kroger wrongly

contends, that a plaintiff’s structural challenges entail irreparable harm warranting preliminary

relief. As the Tenth Circuit explained, “Axon did not address the issue of irreparable harm, or any

other issue regarding entitlement to injunctive relief.” Leachco, 103 F.4th at 758. It thus “does

not help [Kroger] establish irreparable harm” here. Id.; see also id. at 759 (noting that the

plaintiff’s alternative reading of Axon would convert that decision “into a broad ruling that creates

an entitlement on the merits to a preliminary injunction in every case where such constitutional

challenges are raised”); see also, e.g., YAPP USA Automotive Sys., Inc., 2024 WL 4119058, *9

(explaining that Axon “did not address issues of relief or injury”).

      Moreover, Seila Law—the origin of the “here-and-now injury” language, see Axon

Enterprise, 598 U.S. at 191 (quoting Seila Law, 591 U.S. at 212)—also says nothing about

entitlement to injunctive relief; that portion of Seila Law concerned standing, see Seila Law, 591

U.S. at 212; see also Leachco, 103 F.4th at 759. The Supreme Court recognized as much in

Collins: “What we said about standing in Seila Law should not be misunderstood as a holding on

a party’s entitlement to relief based on an unconstitutional removal restriction.” Collins, 594 U.S.




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at 258 n.24.

        More fundamentally, Kroger’s assertion that the administrative proceeding will restart at

all—much less that it will restart any time soon—is speculative.                  Kroger admitted in the

preliminary injunction hearing in the District of Oregon that “the outcome of this [Section 13(b)]

hearing is going to most certainly be dispositive of whether this merger goes through or not,” and

“[t]his merger will not occur if this injunction is in place.” ECF No. 10-5 at PageID 217, 267

(Rough Tr. at 100:6–7, 150:10–17 (Aug. 26, 2024), FTC v. The Kroger Co., No. 3:24-cv-00347-

AN (D. Or.)). If Kroger and Albertsons abandoned the proposed acquisition following a federal

court order, the administrative proceeding may be rendered moot. 6 Given such uncertainty

regarding whether the administrative proceeding will even occur, Kroger cannot establish any

irreparable harm arising from the administrative proceeding.

      Second, Kroger’s assertion of irreparable harm in the form of litigation costs and attorneys’

fees is a non-starter. The Supreme Court has often reiterated that “[m]ere litigation expense, even

substantial and unrecoupable cost, does not constitute irreparable injury.” Renegotiation Bd. v.

Bannercraft Clothing Co., 415 U.S. 1, 24 (1974); see also FTC v. Standard Oil Co. of Calif., 449

U.S. 232, 244 (1980) (same). Kroger’s assertion that its litigation expenses cannot be recovered

from the Government, see Mot. 16–17, PageID 52–53, thus provides no support to its claim of




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           In the status conference on September 13, 2024, Kroger suggested that this case may remain live
even if Kroger and Albertsons abandon the proposed merger because the Commission may still pursue
prospective relief in the administrative proceeding. Although the Commission has the authority to maintain
an administrative case after the parties abandon a merger, it has historically done so only in rare
circumstances. See, e.g., In the Matter of the Coca-Cola Company, 117 F.T.C. 795, 1994 WL 16011006,
¶ 376 (1994). Thus, if Kroger and Albertsons were to abandon the merger following an adverse decision
in Oregon, there is at the very least a substantial possibility that the Commission will terminate the
administrative proceedings on the grounds that they are no longer needed to protect the public interest. Such
a determination would moot this case. See Ford v. Wilder, 469 F.3d 500, 504 (6th Cir. 2006) (“Simply
stated, a case is moot when the issues presented are no longer ‘live’ or the parties lack a legally cognizable
interest in the outcome.” (quoting Powell v. McCormack, 395 U.S. 486, 496 (1969))).


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irreparable harm. Rather than distinguish Renegotiation Board or Standard Oil, Kroger looks to

a Sixth Circuit case finding irreparable harm based on the costs of complying with a federal

requirement, together with the prospect of a loss of funding on a contract with the Government.

See Commonwealth v. Biden, 57 F.4th 545, 555–56 (6th Cir. 2023) (cited at Mot. 17, PageID 53).

But those scenarios are far different from a claim of irreparable harm based on litigation costs,

which the Supreme Court has repeatedly rejected as insufficient—even when such costs are

“unrecoupable.” Bannercraft, 415 U.S. at 24.

      Third, Kroger alleges irreparable harm in the form of “ongoing uncertainty” as to the

prospect of the proposed acquisition should Kroger prevail in the Section 13(b) proceeding but

remain subject to future administrative proceedings. See Mot. 17, PageID 53. But Kroger fails to

explain how this is an “imminent and irreparable injury” requiring the Court “to grant relief now

as opposed to at the end of the lawsuit.” D.T., 942 F.3d at 327. Moreover, a preliminary injunction

would not even resolve this alleged injury. Kroger alleges that it “must be able to operate its

business without the looming specter of a post-merger divestiture of assets years down the line.”

Mot. 17, PageID 53. But even were this Court to preliminary enjoin the administrative proceeding,

Kroger would still face the same alleged “uncertainty” from the prospect of losing on the ultimate

merits in this case. Regardless, the specter of future enforcement proceedings—and a plaintiff’s

own choices in light of such proceedings—is not an irreparable injury.

      Finally, Kroger’s own delay in filing for injunctive relief weighs against finding irreparable

harm. See, e.g., Allied Erecting & Dismantling Co. v. Genesis Equip. & Mfg., Inc., 511 F. App’x

398, 405 (6th Cir. 2013) (“[A]n unreasonable delay in filing for injunctive relief will weigh against

a finding of irreparable harm.”); Huron Mountain Club v. U.S. Army Corps of Engineers, 545 F.

App’x 390, 397 (6th Cir. 2013) (finding district court did not err in considering delay as a factor




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weighing against injunction). Kroger waited to file this motion until six months after the

Commission initiated both the administrative proceeding and the Section 13(b) proceeding in the

District of Oregon, and seven days before the three-week evidentiary hearing on the preliminary

injunction began in Oregon. Kroger knows that the administrative proceeding is recessed only

pending resolution of the Section 13(b) proceeding. Its unjustified delay weighs strongly against

a finding of irreparable harm.

      Because Kroger has not alleged any recognized irreparable harm—and because it delayed

seeking preliminary injunctive relief until the final hour—Kroger has failed to satisfy the

irreparable-harm requirement, and its preliminary-injunction request should be denied on that basis

alone.

IV.   The balance of the equities and the public interest weigh in the Government’s favor.

         The third and fourth injunctive factors, the balance of equities and the public interest,

“merge when the Government is the opposing party.” Nken, 556 U.S. at 435. These combined

factors weigh against relief here because the public has a strong interest in enforcement of the

Clayton Act, which protects the public from transactions which “may substantially lessen

competition,” 15 U.S.C. § 18, and the FTC Act, which protects the public from “unfair or deceptive

acts or practices,” 15 U.S.C. § 45(a). Enjoining the administrative proceeding at issue would

frustrate those Congressional objectives, preventing the Commission from “effectuating statutes

enacted by representatives of [the] people,” and causing the United States to “suffer[] a form of

irreparable injury” as a result. Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in

chambers) (citation omitted); cf. Priorities USA v. Nessel, 860 F. App’x 419, 423 (6th Cir. 2021)

(“[T]he public interest necessarily weighs against enjoining a duly enacted statute.”).

         On the other hand, as explained above, Kroger has not shown that it will suffer any harm

from proceeding with the scheduled administrative hearing, especially since Kroger may seek


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review of the outcome in federal court. 15 U.S.C. § 45(c). Accordingly, the balance of the equities

and the public interest counsel against Kroger’s requested relief.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny Kroger’s motion for a preliminary

injunction.



Dated: September 16, 2024                     Respectfully submitted,

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